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                            Exhibit 1
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 CAYMAN SECURITIES CLEARING
 AND TRADING LTD; THE HURRY
 FAMILY REVOCABLE TRUST;
 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION; and ALPINE SECURITIES
 CORPORATION,
                                                        CASE NO.: 8:18-cv-02869-VMC-CPT
         Plaintiffs/Counter-Defendants,

 vs.

 CHRISTOPHER FRANKEL,

       Defendant/Counter-Plaintiff.
 ____________________________________/

       Frankel’s Notice of Serving Verified Responses to Plaintiffs’ Initial Interrogatories

         The defendant, Christopher L. Frankel (“Frankel”), through counsel and under Fed. R.

 Civ. P. 33, serves the following verified answers to the plaintiffs’ initial interrogatories, served

 on January 15, 2019.

                                                        /s/ David C. Banker
                                                        David C. Banker (Fla. Bar No. 352977)
                                                        J. Carter Andersen (Fla. Bar No. 0143626)
                                                        Harold D. Holder (Fla. Bar No. 118733)
                                                        BUSH ROSS, PA
                                                        1801 N. Highland Avenue
                                                        Tampa, Florida 33602
                                                        Phone: 813-224-9255
                                                        Fax: 813-223-9620
                                                        Primary: dbanker@bushross.com;
                                                        candersen@bushross.com;
                                                        hholder@bushross.com
                                                        Secondary: aflowers@bushross.com
                                                        ksalter@bushross.com
                                                        Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

         I certify that I caused Frankel’s Notice of Serving Responses, and the accompanying
 Verified Responses to the plaintiffs’ Initial Interrogatories, to be served via electronic mail on
 plaintiffs’ counsel on February 14, 2019, at the following addresses:

        Shane B. Vogt, Esquire
        Kenneth G. Turkel, Esquire
        BAJO | CUVA | COHEN | TURKEL
        100 North Tampa Street, Suite 1900
        Tampa, FL 33602
        kturkel@bajocuva.com
        svogt@bajocuva.com

        Charles J. Harder, Esquire
        Jordan Susman, Esquire
        HARDER LLP
        132 South Rodeo Drive, Suite 301
        Beverly Hills, CA 90212-2406
        charder@harderllp.com
        jsusman@harderllp.com
        Attorneys for Plaintiffs
                                                     By:     /s/ David C. Banker




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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 CAYMAN SECURITIES CLEARING
 AND TRADING LTD; THE HURRY
 FAMILY REVOCABLE TRUST;
 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION; and ALPINE SECURITIES
 CORPORATION,
                                                      CASE NO.: 8:18-cv-02869-VMC-CPT
        Plaintiffs/Counter-Defendants,

 vs.

 CHRISTOPHER FRANKEL,

       Defendant/Counter-Plaintiff.
 ____________________________________/

                        Frankel’s Responses to Plaintiffs’ Initial Interrogatories

        The defendant, Christopher L. Frankel (“Frankel”), responds to the plaintiffs’ initial

 interrogatories as follows:

                                      Preliminary Objection

        Chris Frankel objects to the plaintiffs’ Definitions and Instructions to the extent that they

 seek to impose obligations exceeding or varying from the obligations regarding discovery under

 the Federal Rules of Civil Procedure. Chris Frankel has ignored the plaintiffs’ definitions and

 instructions and has responded to the interrogatories in accordance with his plain English

 interpretation of the questions and the requirements of the Federal Rules of Civil Procedure.

                                  Interrogatories and Responses

        1.      Identify all email addresses you have used since June 1, 2015.

        Answer:                cfrankel@alpine-securities.com;              salfrankel@yahoo.com;

        chrisfrankel13@gmail.com .



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        2.      Identify all current or former clients of Plaintiffs with whom you have

 communicated since August 1, 2018.

        Answer: I recall that the following persons and entities, who have done business with

        one or more of the plaintiffs, have contacted and communicated with me since August 1,

        2018:

        a. Kurt Kramer – Power Up Lending and Asher Enterprises;

        b. Bryan Collins / Sam O’Shana – Silverback and Rockwell Capital;

        c. Coby Neuenschwander / John Fife – Chicago Venture;
        d. Adam Long – L2 Capital;

        e. Al Sollami – Auctus;

        f. Vince Searra – EROP;

        g. Steve Hicks – Livingston and Southridge;

        h. Chip Cleland / Paul Winkle / Nick Solerno – Continuation Capital; and

        i. Felicia – EMA.

        I knew and had prior business relationships with the underlined individuals and entities

        before my association with Alpine. Many of the foregoing individuals and entities,

        including EROP/Searra and EMA/Felicia, initiated contact with me after my employment

        with Alpine ceased.

    3. Identify all financial institutions that currently have or previously had relationships with

 Plaintiffs with whom you have communicated since August 1, 2018.

        Answer: I recall communicating with the following financial institutions, since August

        1, 2018, which have had relationships with one or more of the plaintiffs:

        a. Lakeside Bank; and

        b. Servis1st Bank.

        Communications did not concern plaintiffs’ confidential information.

    4. Identify all broker-dealers that you have contemplated purchasing, whether directly,

 indirectly, in whole or in part, since August 1, 2018.

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        Answer:     Objection: The identity of any broker-dealers which Chris Frankel has

        contemplated purchasing is proprietary and confidential. Chris Frankel has used no

        confidential information of the plaintiffs in contemplating the purchase of any broker-

        dealer. Chris Frankel knew and knows of no broker-dealer which the plaintiffs have

        contemplated purchasing before, during, or after Chris Frankel’s employment and

        consultant relationship with Alpine. The plaintiffs have no non-competition or non-

        solicitation agreement with Frankel. Frankel has been free to contemplate purchasing, or

        to purchase, any broker-dealer he wishes, provided he did not use the plaintiffs’

        confidential information to do so, and he did not.

        5.     Identify the date, time, place, and a summary of all oral communications between

 you and Steve Mashawar since August 1, 2018.

        Answer: None that I recall.
        6.     Identify the date, time, place, and a summary of all oral communications between

 You and Carlos Montoya since August 1, 2018.

        Answer: None that I recall.

        7.     Identify the date, time, place, and a summary of all oral communications between

 you and Jim Kelly since August 1, 2018.

        Answer: I recall speaking with Jim Kelly once after August 1, 2018, to ask his opinion

        regarding the value of a broker-dealer which I was contemplating purchasing.

        8.     Identify the date, time, place, and a summary of all oral communications between

 you and Austin Trust Company or its employees, officers, members, or representatives, since

 August 1, 2018.

        Answer: None to my knowledge.




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